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                                                       September 11, 2023

  BY ECF

  Hon. Taryn A. Merkl
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re:     Trooper 1 v. NYSP et al., 22-cv-893 (LDH) (TAM)

  Dear Judge Merkl:

          I represent former Governor Andrew M. Cuomo (“Governor Cuomo”) in the above-
  referenced Action and write to respectfully request an in-person conference at the Court’s earliest
  convenience to address the status of discovery and, specifically, numerous pending and upcoming
  party and nonparty discovery disputes that impact more than twenty subpoenas issued by Governor
  Cuomo.

           Many nonparties—including those specifically referenced in Trooper 1’s Complaint—
  have flatly refused to produce relevant documents and have also refused to sit for depositions. This
  is particularly notable given that those nonparties readily complied with subpoenas from the New
  York Attorney General’s Office during its investigation. Indeed, as this Court is aware, three
  motions to compel/quash subpoenas are currently pending (affecting more than a dozen
  subpoenas). One of those motions will not be fully briefed until early October. Further, we expect
  at least two more motions to compel will need to be filed in the coming weeks, as other nonparties
  have been emboldened to resist compliance in light of other nonparty objections. In addition, our
  motion for reconsideration of the July 19 Discovery Order is also pending.

          Further, Trooper 1 has also blocked discovery by filing motions to quash certain nonparty
  discovery. Most recently, Trooper 1 objected to Governor Cuomo serving subpoenas even on
  witnesses she specifically identified as having discoverable information. That dispute is included
  in the parties’ August 25, 2023 joint letter. ECF No. 136.

         Moreover, we understand from co-defendants’ counsel that they have also served
  subpoenas on some of the same nonparty witnesses served by Governor Cuomo and some of those
  witnesses have already indicated that they plan to move to quash those subpoenas.
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           The situation is untenable. Governor Cuomo has sought discovery from witnesses Trooper
  1 specifically (a) included and discussed in seventy-three paragraphs (approximately fifteen
  pages) of her Complaint, and (b) listed in her initial disclosures as witnesses. And yet Trooper 1
  objects to discovery related to these and other witnesses. Governor Cuomo did not make these
  individuals witnesses—Trooper 1 did. She should not now be able to block him from obtaining
  discovery related to these witnesses and allegations. Moreover, when Governor Cuomo sought
  certain information from the New York Attorney General’s Office relating to those witnesses and
  their allegations included in the Complaint, this Court opined that Governor Cuomo should seek
  discovery from those individuals and acknowledged Governor Cuomo’s need to “conduct robust
  discovery” based on the allegations in the Complaint. OAG ECF No. 25 at 100:4–7; see also OAG
  ECF No. 37 at 30 (“[T]he full range of civil discovery tools is available to [Governor Cuomo] in
  connection with the Trooper 1 litigation, and he may seek to depose relevant anticipated witnesses
  and subpoena them for documents.”). Governor Cuomo, in accord with this Court’s guidance, did
  exactly that and sought discovery in good faith to defend himself in this lawsuit only to face
  objection upon objection upon objection from those witnesses (many of whom have been
  coordinating to block that discovery).

          The current disputes, which concern more than twenty subpoenas issued by Governor
  Cuomo, have brought Governor Cuomo’s discovery to a grinding halt. With numerous discovery
  motions pending, with many more objections to Governor Cuomo’s subpoenas, and with little
  guidance from the Court on these issues, Governor Cuomo is being denied the opportunity to
  obtain crucial evidence he needs to defend himself against Trooper 1’s claims. Moreover, under
  these circumstances, completion of fact discovery by the October 16, 2023 cut-off date is
  impossible. Governor Cuomo respectfully requests that the Court break the logjam by scheduling
  a status conference to address this discovery quagmire.



                                                      Respectfully submitted,

                                                      /s/ Rita M. Glavin

                                                      Rita M. Glavin
